            Case 2:08-cr-00365-JLR          Document 15       Filed 11/21/08      Page 1 of 3




 1

 2

 3

 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6
     UNITED STATES OF AMERICA,                         )
 7                                                     )
                              Plaintiff,               )    Case No. CR08-365-JLR
 8                                                     )
           v.                                          )
 9                                                     )    DETENTION ORDER
     DONALD KERRY FREY,                                )
10                                                     )
                              Defendant.               )
11                                                     )

12   Offense charged:

13         Conspiracy to Transport Individuals in Furtherance of Prostitution and Conspiracy to

14    Engage in Money Laundering.

15    Detention Hearing: November 21, 2008.

16         The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

17    based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18    that no condition or combination of conditions which the defendant can meet will reasonably

19    assure the appearance of the defendant as required.

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21         (1)     Defendant resides in California and visits Seattle twice a month. Defendant travels

22    frequently throughout the United States. The Government has investigated the defendant’s places

23    of business and residence. The addresses that defendant has provided for his places of business


     DETENTION ORDER -1
            Case 2:08-cr-00365-JLR          Document 15        Filed 11/21/08     Page 2 of 3




 1    have either been fictitious or postal mail boxes. The government has not been able to determine

 2    where defendant resides in California. The defendant provided pre-trial services with an address

 3    in Lake Tahoe which apparently does not exist. The defendant states that he lives in a little cabin

 4    close to the address he provided.

 5         (2)     Defendant proffered that he could reside with a girlfriend in Western Washington.

 6    However, the government’s investigation shows that the girlfriend has a safe-deposit box in

 7    which she stores cash. The girlfriend’s visits to her safe-deposit box coincide with the

 8    defendant’s visits to his girlfriend. A search of the safe-deposit box yielded $5,000 in cash. The

 9    Government proffered its belief that defendant is using the safe-deposit box to conceal the

10    proceeds of the Prostitution Conspiracy. The government proffered that defendant’s girlfriend

11    earns $8,000 and there is no documentation to account for this income. The defense proffered

12    that defendant’s girlfriend is a dancer and paid in cash which is why there is no documentation of

13    income.

14         (3)     The Government proffered that defendant was earning about $15,000 each month as

15    proceeds of the Conspiracy.

16         It is therefore ORDERED:

17         (1)     Defendant shall be detained pending trial and committed to the custody of the

18    Attorney General for confinement in a correctional facility separate, to the extent practicable,

19    from persons awaiting or serving sentences, or being held in custody pending appeal;

20         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

21    counsel;

22         (3)     On order of a court of the United States or on request of an attorney for the

23    Government, the person in charge of the correctional facility in which defendant is confined shall


     DETENTION ORDER -2
            Case 2:08-cr-00365-JLR          Document 15        Filed 11/21/08      Page 3 of 3




 1    deliver the defendant to a United States Marshal for the purpose of an appearance in connection

 2    with a court proceeding; and

 3         (4)     The clerk shall direct copies of this order to counsel for the United States, to counsel

 4    for the defendant, to the United States Marshall, and to the United States Pretrial Services Officer.

 5         DATED this 21st day of November, 2008.

 6

 7                                                        A
                                                          BRIAN A. TSUCHIDA
 8                                                        United States Magistrate Judge

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23


     DETENTION ORDER -3
